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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

  BILLY PETER,                       )
                                     )
  Plaintiff,                         )
                                     )
  v.                                 )
                                     )
  ANNE E. LOPEZ IN HER               )    Civil Action _________________
  OFFICIAL CAPACITY AS THE           )
  ATTORNEY GENERAL OF                )    Memorandum in Support of Motion for
  THE STATE OF HAWAII,               )    Preliminary Injunction
                                     )
   Defendant.                        )
                                     )
                                     )
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                                  I.      Introduction

       Plaintiff Peter moves this Court for a preliminary injunction pursuant to FED

R. CIV. P. 65. Plaintiff is a long-term resident of Hawaii who legally lives in the

United States pursuant to the Compact of Free Association (“COFA”) the United

States has with various islands nations located in the Pacific.12 “The Compact

grants FSM3 and citizens of other compact states liberal opportunities to work and

reside in the United States.” Off. of Atty. Gen. v. Phillip, No. CV06-0017-GA, 2008

WL 305343, at *3 (N. Mar. I. Jan. 30, 2008). 4 COFA aliens “admitted to the

United States under the Compacts may reside, work, and study in the United

States. They do not have the status of lawful permanent residents (also known as

Green Card holders) under the Immigration and Nationality Act (INA).”5, 6 That

1
  https://www.doi.gov/oia/compacts-of-free-association
2
  “The Republic of the Marshall Islands and the Federated States of Micronesia
were established in 1979, and both signed a compact of free association
(“Compact”) with the United States effective October 21, 1986 and November 3,
1986, respectively. The Republic of Palau was created in 1981, and entered into its
own compact of free association with the United States effective October 1, 1994.
Congressional approval of the compacts was codified in the Compact of Free
Association Act of 1985; 48 U.S.C. § 1901.” Phillip, WL 305343, at *2.
3
  Federated States of Micronesia.
4
  See also United States v. Terrence, 132 F.3d 1291, 1293 (9th Cir. 1997) (“The
Compact provides a grant aid package for Palau, military defense privileges for the
United States, and special immigration privileges for citizens of each.”).
5
  https://www.uscis.gov/sites/default/files/document/fact-
sheets/FactSheetVerifyFASCitizens.pdf
6
  As of 2018, the federal government estimates there are 16,680 COFA aliens in
Hawaii. See https://www.doi.gov/sites/doi.gov/files/uploads/2018-cofa-report.pdf
at pg. 4. Whereas other reports estimate this number to be as high as 28,000. See
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means despite living in the United States lawfully on a permanent and long-term

basis, Plaintiff is prohibited from owning firearms under Hawaii law. That violates

the Second Amendment and the Equal Protection Clause of the 14th Amendment.

      In Fotoudis v. City & County of Honolulu, 54 F. Supp. 3d 1136, this Court

enjoined H.R.S. § 134-2’s prohibition on noncitizen’s owning firearms as applied

to permanent resident aliens i.e. green card holders. After the Fotoudis ruling,

Hawaii maintained a ban on other noncitizen residents of Hawaii. This included

U.S. Nationals from the U.S. Territory of America Samoa until a lawsuit was filed.

Shortly after the filing of that lawsuit, the State entered into a stipulated injunction

which compelled Hawaii to allow U.S. Nationals to own firearms. See Alanoa

Nickel v. Clare E. Connors, et al.1:20-cv-00330-JMS-RT Doc. No. [22] (stipulated

injunction as to State of Hawaii’s ban on U.S. Nationals owning firearms). Since

then, Hawaii has updated H.R.S. § 134-2 to include U.S. Nationals and green card

holders as being among those authorized to own firearms. 7 However, Hawaii

maintains a flat ban on firearm ownership for other lawfully present aliens



https://files.hawaii.gov/dbedt/economic/reports/COFA_Migrants_in_Hawaii_Final.
pdf at pg. 6.
7
  This is the 5th lawsuit filed in Hawaii regarding the firearm rights of noncitizens.
In addition to the aforementioned lawsuits, there have been two other lawsuits.
Shortly after the Fotoudis ruling, Honolulu entered a settlement regarding its own
restrictions on green card holders. See Roberts v. City of Honolulu, 938 F.3d 1020,
1022 (9th Cir. 2019); See also Roberts v. Connors; et al., 1:19CV00165 Doc. No.
[25] (settlement which allowed green card holder to apply for a carry license).
                                            2
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including COFA aliens.8 That violates the Second Amendment and the Equal

Protection Clause of the 14th Amendment. A preliminary injunction should be

issued to stop this ongoing violation of Plaintiff’s constitutional rights.

                                 I.     Statement of Facts

       Plaintiff Billy Peter was born in Micronesia on March 16, 1976, on the

island of Weno which is in the State of Chuuk.9, 10 Complaint ¶ 74. He moved to

Hawaii in 1996. Id ¶ 82. He has lived continuously in Hawaii ever since. Id ¶ 83.

He met his wife in the United States, and they have been married since 2008. Id ¶

84. Plaintiff Peter has one daughter who was born in the United States and is a U.S.

citizen. Id ¶ 85. He is employed as a maintenance worker for Kamehameha

schools. Id ¶ 86. He has worked there for over six years. Id ¶ 87. He also works for

Enterprise Rental detailing cars and has so for over four years. Id ¶ 88&¶ 89.

       In April of 2024, Plaintiff Peter went to the Honolulu Police Department

(“HPD”) to apply for a permit to acquire. Id ¶ 90. He spoke to a police officer and



8
  Note there is no federal law which prohibits a COFA alien from owning a
firearm. And they are not required to get a hunting license unlike an alien here on a
tourist or worker visa. https://www.atf.gov/firearms/qa/does-prohibition-receipt-
and-possession-firearms-and-ammunition-aliens-nonimmigrant-visa
9
  Under HRS § 134-2(d), the “chief of police of the respective counties shall issue
permits to acquire firearms to: (1) Citizens, nationals, or lawful permanent
residents of the United States of the age of twenty-one years or more.” While there
are exceptions for some visiting aliens those exceptions do not apply to COFA
aliens residing in Hawaii such as Plaintiff.
10
   https://en.wikipedia.org/wiki/Chuuk_State
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attempted to apply. Id. He was told that he is not qualified to apply for a permit to

acquire due to his immigration status as a COFA alien. Id. A few weeks after he

went to HPD, he received a call from a police officer at HPD. Id. They told him to

come back with all his immigration paperwork so they could inspect it. Id. The

next day Plaintiff Peter went to HPD with his I-94, which is his immigration

paperwork. Id. An officer at HPD told him that his paperwork was “no good” and

he needed a green card (lawful permanent resident status) to own a firearm. Id.

Plaintiff Peter would own and purchase firearms but for Hawaii law. Id. Plaintiff

Peter completed a handgun safety course in 2024 and is thus qualified

to acquire a handgun. Id ¶ 91.

      A. Standard for a Preliminary Injunction

      “The appropriate legal standard to analyze a preliminary injunction motion

requires a district court to determine whether a movant has established that (1) he is

likely to succeed on the merits of his claim, (2) he is likely to suffer irreparable harm

absent the preliminary injunction, (3) the balance of equities tips in his favor, and

(4) a preliminary injunction is in the public interest.” Baird v. Bonta, 81 F.4th 1036,

1040 (9th Cir. 2023). “It is well-established that the first factor is especially

important when a plaintiff alleges a constitutional violation and injury. If a plaintiff

in such a case shows he is likely to prevail on the merits, that showing usually

demonstrates he is suffering irreparable harm no matter how brief the violation.” Id.
                                           4
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“It is "always in the public interest to prevent the violation of a party's constitutional

rights."” Id (quoting Riley's Am. Heritage Farms v. Elsasser, 32 F.4th 707, 731 (9th

Cir. 2022)). “An "individual's right to carry a handgun for self-defense outside the

home" under the Second Amendment is one such constitutional right.” Id (quoting

N.Y. State Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111, 2122 (2022)). Alternatively,

an “injunction is appropriate when a plaintiff demonstrates that serious questions

going to the merits were raised and the balance of hardships tips sharply in the

plaintiff’s favor.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35

(9th Cir. 2011) (internal citation omitted).

                    II.    Plaintiff is Likely to Succeed on the Merits

      A. H.R.S. § 134-2’s restrictions on COFA Aliens violates the Second
         Amendment

      The Second Amendment provides that “the right of the people to keep and

bear Arms . . . shall not be infringed.” After conducting an extensive textual and

historical analysis, the Supreme Court confirmed in District of Columbia v. Heller,

554 U.S. 570, 592 (2008), that the Second Amendment protects an “individual right

to possess and carry weapons” for self-defense. And McDonald v. City of Chi., 561

U.S. 742, 791, 130 S. Ct. 3020, 3050 (2010) incorporated the Second Amendment

as to the states (“We therefore hold that the Due Process Clause of the Fourteenth

Amendment incorporates the Second Amendment right recognized in Heller.”). The


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text also recognizes that the right is held by “the people.” That language includes, as

Heller states, all “law-abiding, responsible” people, Heller, 554 U.S. at 635.

      New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 597 U.S. 142 S. Ct. 2111

213 L. Ed. 2d 387 (2022) clarified the standard for deciding Second Amendment

cases. To determine whether a state’s restriction is constitutional, the Court in Bruen

explained that “the standard for applying the Second Amendment is as follows:

When the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct. The government must then justify

its regulation by demonstrating that it is consistent with the Nation’s historical

tradition of firearm regulation.” 142 S. Ct. at 2129–30. It is the State’s burden to

“affirmatively prove that its firearms regulation is part of the historical tradition that

delimits the outer bounds of the right to keep and bear arms.” Id. at 2127; see also

id at 2150 (“[W]e are not obliged to sift the historical materials for evidence to

sustain New York’s statute. That is respondents’ burden.”). If the State fails to meet

its burden, then the State’s restrictions must be enjoined.

      “Why and how the regulation burdens the right are central to this inquiry.”

United States v. Rahimi, 144 S.Ct. 1889, 1891 (U.S., 2024). “For example, if laws

at the founding regulated firearm use to address particular problems, that will be a

strong indicator that contemporary laws imposing similar restrictions for similar

reasons fall within a permissible category of regulations. Even when a law


                                            6
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regulates arms-bearing for a permissible reason, though, it may not be compatible

with the right if it does so to an extent beyond what was done at the founding.” Id

at 1898.

      III.   Plaintiff’s Conduct is Covered by the Second Amendment’s Plain
             Text

      If the plaintiff’s proposed course of conduct falls within the Second

Amendment’s plain text, then “the Constitution presumptively protects that

conduct.” Bruen, 142 S. Ct. at 2126. Here, Plaintiff wishes to own firearms just like

the litigant in Heller. “Their requests track the core constitutional right to possess a

handgun for self-defense inside and outside the home, as defined by Heller and

Bruen, respectively.” United States v. Perez-Garcia, 96 F.4th 1166, 1180 (9th Cir.

2024). “[B]ecause the challenged condition restricts Fencl's ability to bear or keep

any firearm—even those he would lawfully store at home for self-defense—and

therefore unquestionably implicates his Second Amendment rights.” Id at 1181.

There is no question Plaintiff’s proposed conduct is within the scope of the text.

Thus, the only question left is whether COFA aliens are part of the People. “‘[T]he

people’ protected by the Fourth Amendment, and by the First and Second

Amendments” because they are part of our “national community” and/or “have

otherwise developed sufficient connection with this country to be considered part of

that community”. United States v. Verdugo-Urquidez, 494 U.S. 259, 265 (1990).


                                           7
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        This Court and others have already found that permanent resident aliens

lawfully residing in the United States are among the people. “[I]nterpreting § 134–

2(d) to deny Fotoudis the opportunity to apply for (and to obtain, if otherwise

qualified) a permit to acquire firearms, solely because he is not a U.S. citizen, also

violates the Second Amendment.” Fotoudis v. City & Cnty. of Honolulu, 54 F. Supp.

3d 1136, 1143 (D. Haw. 2014). “Mr. Ibrahim falls within that class of people who

have developed a sufficient connection with this country to be considered part of

that community. He is a legal alien and before now had no convictions.” State v.

Ibrahim, 164 Wash. App. 503, 514, 269 P.3d 292, 296 (2011). “Fletcher and Pryal,

who are both lawful permanent residents, have plainly satisfied the “sufficient

connection” test of Verdugo–Urquidez.” Fletcher v. Haas, 851 F. Supp. 2d 287, 301

(D. Mass. 2012). 11Here, there is no meaningful difference between a permanent legal




11
  Prior to Bruen, the 7th Circuit even found unlawful aliens within the definition of
the People. United States v. Meza-Rodriguez, 798 F.3d 664, 672 (7th Cir. 2015).
However, it ultimately upheld the ban on unlawful aliens under means end
scrutiny. Post-Bruen, several trial courts have found the federal ban on unlawful
aliens owning firearms violates the Second Amendment. United States v. Carbajal-
Flores, No. 20-CR-00613, 2024 WL 1013975, at *4 (N.D. Ill. Mar. 8, 2024). See
also United States v. Sing-Ledezma, No. EP-23-CR-823(1)-KC, 2023 WL
8587869, at *18 (W.D. Tex. Dec. 11, 2023). UNITED STATES OF AMERICA,
Plaintiff, v. PEDRO MUNOZ BENITO, Defendant., No. 3:24-CR-26-CWR-ASH,
2024 WL 3296944, at *8 (S.D. Miss. July 3, 2024). However, the last two
decisions have been abrogated by United States v. Medina-Cantu, 113 F.4th 537
(C.A.5 (Tex.), 2024) which upheld 18 U.S.C. § 922(g)(5).

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resident alien12 and a COFA alien, especially in the case of Plaintiff. Plaintiff has

lived here on a long-term basis and plans on living here for the rest of his life. COFA

aliens such as Plaintiff are fully part of the national community. And are part of the

People because they have “developed substantial connections with the country”

when they “are in this country voluntarily and presumably have accepted some

societal obligations” and are thus entitled to constitutional rights. Martinez-Aguero

v. Gonzalez, 459 F.3d 618, 625 (5th Cir. 2006) (cleaned up).

        Because “the Second Amendment presumptively protects” Plaintiff’s

“proposed course of conduct” “the Government bears the burden of proving that

application of” H.R.S. §134-2 “firearm condition to them is consistent with our

nation's “historical tradition of firearm regulation.”” Perez-Garcia, 96 F.4th at 1181.

“At the second prong of the Bruen framework, the central question is whether the

modern regulation is “relevantly similar” to historical laws and traditions, id. at 29,

142 S.Ct. 2111 (citation omitted), so as to “evince[ ] a comparable tradition of

regulation,” id. at 27, 142 S.Ct. 2111. Bruen emphasized that we must uphold a

modern regulation if the government identifies a “well-established and

representative historical analogue.” Id. at 30, 142 S.Ct. 2111 (emphasis omitted).”

Id. “Outlier” regulations do not and cannot establish a national tradition. Bruen, 597


12
  In fact, others must go through a lengthy process to become a lawful permanent
resident, renewable at most at ten year increments, whereas COFA aliens may just
remain in the United States lawfully in perpetuity.
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U.S. at 30, 55 n.22, 65, 70. See also United States v. Connelly, --- F.4th ----, 2024 WL

3963874 at *9 (5th Cir. Aug. 28, 2024) (rejecting the use of “three states, between

1868 and 1883, [which] barred citizens from carrying guns while drunk: Kansas,

Missouri, and Wisconsin”). Similarly, in Rahimi, the surety and affray laws on which

the Court relied were rooted in the common law at the time of founding and codified

in founding era statutes in “at least four States—Massachusetts, New Hampshire,

North Carolina, and Virginia.” Rahimi, 144 S.Ct. at 1901.

      There simply is no history of lawfully admitted individuals who are living

within the country on a long-term basis having their firearm rights restricted in the

United States solely due to their immigration status. Historically, the only people

that had their Second Amendment rights restricted were those that were found to

be dangerous. Within the context of group wide disarmament, that meant that the

group was likely to engage in insurrection. Judge Van Dyke recently reviewed this

history, and he observed, “[i]n each situation, the group had the potential to act as

enemy combatants and as such was feared to take up arms and cause violence

against the broader community.” United States v. Garcia, 2024 WL 4033086, at

*24 (C.A.9, 2024) (Van Dyke Dissenting). Here, there is no indication that COFA

aliens are “a group that was expected to take up arms against the government.” Id

at *26. Thus, they are inapposite to any historical analogy the State might produce.

While there were historical bans on African Americans especially slaves, Indians,


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certain religious minorities and those who were considered disloyal, this was

because there was a perceived risk of political violence that is not at issue here.

        Laws disarming slaves, other African Americans and Indians are readily

distinguishable because during the Colonial Era slaves and Indians were not

considered part of the national community.13, 14. Thus, these laws are inapposite

because as shown above, COFA aliens are part of the people. Furthermore, “[i]t

should go without saying that such race-based exclusions would be

unconstitutional today.” Kanter v. Barr, 919 F.3d 437, 458 n.7 (7th Cir. 2019)

(Barrett, J., dissenting). 15, 16. Therefore, these practices are not valid to establish a



13
    See Scott v. Sandford, 60 U.S. (19 How.) 393 (1857) (finding that enslaved
individuals are not part of the citizenry).
14
   See, e.g., US Const., art. 1, sec. 1 & 3. House of Reps shall be chosen by the
people of the US, apportionment shall be determined by the "whole number of free
persons," excluding “Indians not taxed.” See also The Civil Rights Act of 1866 (14
Stat. 27–30, enacted April 9, 1866, reenacted 1870) (which is generally considered
a precursor to the 14th Amendment) states: “That all persons born in the United
States and not subject to any foreign power, excluding Indians not taxed, are
hereby declared to be citizens of the United States….” Available at
https://en.wikisource.org/wiki/Civil_Rights_Act_of_1866 (last accessed
9/24/2024). Native Americans were not granted citizenship until the passage of
The Indian Citizenship Act of 1924 Pub. L. 68-175.
15
   In McDonald v. City of Chicago, the Supreme Court pointed to licensing laws from
Florida and Mississippi as examples of the “systematic efforts” of “the States of the
old Confederacy” to “disarm . . . blacks.” 561 U.S. 742, 771 (2010). See also Bruen,
142 S. Ct. at 2151 (“After the Civil War, of course, the exercise of this fundamental
right by freed slaves was systematically thwarted.”).
16
   Lara v. Commr. Pennsylvania State Police, 91 F.4th 131 (3d Cir. 2024) cert.
granted, judgment vacated sub nom. Paris v. Lara, No. 24-93, 2024 WL
(rejecting the use of historical laws disarming disfavored minorities).
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historical tradition because whatever authority they might otherwise possess has

been wrung out of them through the blood of tens of thousands of Americans and

the 13th, 14th and 15th Amendments. 17 Furthermore, the how and the why of these

restrictions are different. Colonial laws disarmed African Americans because

“many in the colonies had an “equivalent fear” of an armed uprising by slaves and

free Blacks against the slave-holding regime.” United States v. Garcia, 2024 WL

4033086, at *22 (C.A.9, 2024). “In response, many colonies prohibited slaves or

even free Blacks from possessing arms.” Id. Thus, the “why” of these colonial laws

is different from modern laws is different from Hawaii’s ban on COFA aliens

because there is no indication that COFA aliens are likely to engage in

insurrection. The why of later discriminatory Black Codes were also different.18

        The Black Codes were designed to deprive freed slaves of their civil rights,

including the right to keep and bear arms otherwise protected by State law. See

McDonald v. City of Chicago, 561 U.S. 742, 771, 779 (2010); District of Columbia

v. Heller, 554 U.S. 570, 614 (2008). In Kipke v. Moore, which deals with



17
   See also United States v. Quiroz, No. PE:22-CR-00104-DC, 2022 U.S. Dist.
LEXIS 168329, at *27 (W.D. Tex. Sep. 19, 2022) (rejecting the use of disarming
disfavored groups to justify 18 U.S.C. § 922(n).
18
   “History has a role to play in Second Amendment analysis, but a rigid adherence
to history, (particularly history predating the inclusion of women and people of
color as full members of the polity), impoverishes constitutional interpretation and
hamstrings our democracy.” Rahimi, 144 S.Ct. at 1905 (Sotomayer, Concurring).


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Maryland’s sensitive places laws, Judge Russell refused to consider laws created as

part of states’ discriminatory "Black Codes," which sought to deprive African

Americans of their rights because: (1) the Supreme Court has cautioned against

relying on such laws; (2) laws primarily aimed at only one group of people do not

have the same impact on the right to bear arms as laws applicable to all citizens; and

(3) such laws were intended to discriminate, rather than to advance public safety.

Kipke v. Moore, Civil Action No. GLR-23-1293, 2023 U.S. Dist. LEXIS 174934, at

*41-42 (D. Md. Sep. 29, 2023). “).” See also Koons v. Platkin, Civil 22-7464

(RMB/AMD), 53 (D.N.J. May. 16, 2023) (discussing Black Codes). As the rationale

is different, reliance on these laws fails Bruen’s how and why test.

      “Many colonies also enacted firearm laws targeting American Indians based

on the history of warfare between the Indians and European settlers.” United States v.

Garcia, 2024 WL 4033086, at *22 (C.A.9, 2024). These laws were part of a

comprehensive scheme aimed at defending the fledgling colonies from violent

encounters with their Indian neighbors. Id at *22. Again, the how and why of these

laws are different because there is no indication COFA aliens are likely to engage in

warfare against the state. Arms prohibitions on those that refused to swear loyalty

oaths are also not relevantly similar to Hawaii’s ban on COFA aliens. If “all a

legislature must do to prohibit a group of persons from possessing arms is to

declare that group “untrustworthy,” then the Second Amendment would provide


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virtually no limit on Congress’s discretion.” United States v. Harrison, 654

F.Supp.3d 1191, 1218 (W.D.Okla., 2023) (footnotes omitted)

      Founding Era governments did not disarm Loyalists because they were

thought to lack self-control; it was because both (BOTH?) were viewed as potential

threats to the integrity of the state. “Oaths were meant to reduce the danger before

the threat materialized into something more.” United States v. Jackson, 85 F.4th 468,

472 (C.A.8 (Minn.), 2023) (Strass, Dissenting). The 5th Circuit has also found these

laws are not relevantly similar to 18 U.S.C. § 922(g)(3) because drug users are not

political traitors. United States v. Connelly, 2024 WL 3963874, at *6 (C.A.5 (Tex.),

2024) (“Each of those laws was generally based on concerns for the safety of the

polity, but each disarmament also had its own unique political or social motivations.

Almost all the laws disarming dissidents were passed during wartime or periods of

unprecedented political turmoil.”) COFA aliens are similarly “not a class of political

traitors, as English Loyalists were perceived to be.”

      The Harrison court observed that restrictions on Catholics were similarly not

relevant. “[I]t appears that only two American colonies—Virginia in 1756 and

Pennsylvania in 1759—ever acted to disarm Catholics. Two laws in place during

time of war hardly demonstrate a course of consistent practice sufficient to establish

a constitutionally significant tradition.” Harrison, 654 F.Supp.3d at 1220. “Second,

at the time these provisions were enacted, the operative rights-protecting document


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was the English Bill of Rights, which limited the right ’to have arms’ to Protestants.

Catholics were thus excluded from the protections of the right. Laws applying to

groups that was not protected by the right to armed self-defense cannot provide any

insight into that right’s scope.” Id. (footnotes omitted). COFA aliens are not “like

Catholics and other religious dissenters who were seen as potential insurrectionists.”

Connelly, 2024 WL 3963874, at *6. Thus, the State cannot rely on these laws to

justify their ban on COFA aliens. “T]he perceived threat was as much political as it

was religious.” United States v. Daniels, 77 F.4th 337, 351 (C.A.5 (Miss.), 2023).

“Early laws were about lessening the danger posed by armed rebellion or

insurrection.” Jackson, 85 F.4th at 470 (Strass, dissenting). COFA aliens are not

similar to historical groups which were disarmed because they do not present a threat

of insurrection or rebellion.

      Similarly, historical laws which individually disarmed people cannot serve

as a historical basis for disarming COFA aliens. The Ninth Circuit reviewed this

history and found several criteria a restriction must satisfy to be constitutional.

      The Government in this case acted in accordance with this historical
      tradition. The Government established an individualized need for
      applying the firearm condition against each Appellant in adversarial
      proceedings before two sets of neutral judicial officers. Those neutral
      judicial officers determined based on the evidence presented that
      Appellants posed a risk while on bail and that the firearm condition
      was the least restrictive way to assure the safety of the community as
      well as their appearances in court.

U.S. v. Perez-Garcia, 96 F.4th 1166, 1190 (9th Cir. 2024)
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      In doing so it endorsed then Judge Barret’s dissent in Kanter v. Barr. “[T]he

Bail Reform Act's firearm condition is a clear exercise of Congress' historical

legislative power to disarm those who are “judged to be a threat to the public safety.”

Id at 1189 (quoting Kanter v. Barr, 919 F.3d 437, 458 (7th Cir. 2019) (Barrett, J.,

dissenting), abrogated by Bruen, 597 U.S. at 17, 142 S.Ct. 2111) (emphasis added).

Furthermore, the Ninth Circuit found that a prohibition must be individually tailored

by a judicial officer. “Relatedly and importantly, the firearm condition at issue here is

individually tailored and applied only after consideration by a judicial officer.” Id

(emphasis added). The Court found firearm prohibitions must be the least restrictive

means available. Id at 1190. And Perez-Garcia emphasized that “the firearm

condition is a temporary one, lasting only through the pendency of trial, see 18

U.S.C. § 3142(a), and the condition is imposed only upon individualized

consideration by a judicial officer.” Id at 1181.

       The 8th Circuit used similar reasoning recently to strike down Minnesota’s

ban on young adults carrying firearms. Minnesota attempted to justify its ban by

using a report that claimed “the murder arrest rate for 18 to 20-year-olds is almost

33 percent higher than the murder arrest rate for the next most homicidal age

group.” And they are the “most likely” of any age group “to use firearms to

commit homicides and other violent crimes.” Worth v. Jacobson, No. 23-2248,

2024 WL 3419668, at *10 (8th Cir. July 16, 2024). The 8th Circuit rejected this


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rationale . “After all, even using these recent statistics, it would be a stretch to say

that an 18-year-old “poses a clear threat of physical violence to another.”” Id.

(quoting Rahimi, 144 S.Ct. at 1901). As the Supreme Court has said the

government cannot disarm an individual or a group simply because it believes the

person is not “responsible.” Rahimi, 144 S.Ct. at 1903. There is no evidence that

COFA aliens pose a clear threat of physical violence. Additionally, Hawaii cannot

show why its “other statutory restrictions, none of which the Plaintiffs have

challenged, do not reduce the risk of danger already.” Id. “A legislature's ability to

deem a category of people dangerous based only on belief would subjugate the

right to bear arms ‘in public for self-defense’ to ‘a second-class right, subject to an

entirely different body of rules than the other Bill of Rights guarantees.’” Id at *11

(quoting Bruen, 597 U.S. at 70, 142 S.Ct. 2111).

      Here, Hawaii will not be able to rely on historical laws which engage in

individual disarmament because there is no evidence that COFA aliens are

dangerous as a class much less a judicial determination that they are. Even if

Hawaii could, the law would remain unconstitutional as applied to Plaintiff Peter

because he has alleged facts that demonstrate he is a law-abiding citizen.

Furthermore, unlike historical laws, the prohibition on COFA aliens owning

firearms is permanent in nature. See Rahimi, 144 S.Ct. at 1901, 2024 WL

3074728, at *9 (noting that the statute at issue did “not broadly restrict arms use by


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the public generally”). This further demonstrates how these laws are not relevantly

similar. Hawaii’s ban on COFA aliens violates the Second Amendment.

             A. H.R.S. § 134-2’s Restrictions on COFA Aliens violates the Equal
                Protection Clause of the Fourteenth Amendment

          Hawaii’s ban on COFA aliens owning firearms violates the equal protection

clause of the 14th Amendment. “The first step in equal protection analysis is to

identify the state’s classification of groups.” Arizona Dream Act Coalition v. Brewer,

757 F.3d 1053, 1064 (9th Cir. 2014) (citation omitted). “The groups must be

comprised of similarly situated persons so that the factor motivating the alleged

discrimination can be identified.” Thornton v. City of St. Helens, 425 F.3d 1158,

1167 (9th Cir. 2005). And “[t]he groups need not be similar in all respects, but they

must be similar in those respects relevant to the [government’s] policy.” Arizona

Dream Act Coalition, 757 F.3d at 1064. Here, the class at issue are COFA aliens.

          Alienage, or the state of being an alien, i.e. a non-citizen of the United States,

is a suspect class that triggers strict scrutiny in equal protection claims when dealing

with state law. Graham v. Richardson, 403 U.S. 365 (1971).19 Under HRS § 134-

2(d), COFA aliens are prohibited from owning firearm whereas citizens and others

can. While there are exceptions for some visiting aliens those exceptions do not


19
     “In general, state classifications based on alienage are subject to strict scrutiny.”
Korab v. Koller, No. CIV. 10-00483 JMS, 2010 WL 4688824, at *4 (D. Haw. Nov.
10, 2010) (Collecting cases)

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apply to COFA aliens such as Plaintiff. Section 134-2(d) is thus not “facially neutral

legislation.” See Washington v. Seattle Sch. Dist. No. 1, 458 U.S. 457, 484, 102 S.

Ct. 3187, 73 L. Ed. 2d 896 (1982) (“[W]hen facially neutral legislation is subjected

to equal protection attack, an inquiry into intent is necessary[.]”). HRS § 134-2(d)

explicitly treats COFA aliens differently than U.S. citizens solely because of their

status as aliens. Classifications based on alienage are “suspect” for purposes of

analyzing a violation of the Equal Protection clause and are subject to “strict judicial

scrutiny whether or not a fundamental right is impaired.” See Fotoudis, 54 F. Supp.

3d at 1142. Thus, strict scrutiny applies, and the State of Hawaii must demonstrate a

compelling government interest that is narrowly tailored to achieve that interest. See

Thomas v. Review Bd. of Ind.do Employment Sec. Div., 450 U.S. 707, 718 (1981)

(“The state may justify an inroad on religious liberty by showing that it is the least

restrictive means of achieving some compelling state interest.”).

      Applying strict scrutiny, denying Plaintiff the opportunity to apply for (and to

obtain) a permit merely because he is a COFA alien “is not a narrowly tailored means

of achieving that goal.” Smith v. South Dakota, 781 F. Supp. 2d 879, 886 (D.S.D.

2011) (citing Application of Griffiths, 413 U.S. 717, 725, 93 S. Ct. 2851, 37 L. Ed.

2d 910 (1973) (rejecting the argument that ‘the possibility that some resident aliens

are unsuited to the practice of law’ could be a ‘justification for a wholesale ban’”).

See also Fletcher v. Haas, 851 F. Supp. 2d 287, 303 (D. Mass. 2012) (“Although


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Massachusetts has an interest in regulating firearms to prevent dangerous persons

from obtaining firearms . . . the statute here fails to distinguish between dangerous

non-citizens and those non-citizens who would pose no particular threat if allowed

to possess handguns.”); Say v. Adams, 2008 U.S. Dist. LEXIS 20183, 2008 WL

718163, at *3 (W.D. Ky. Mar. 14, 2008) (granting an injunction against enforcing a

Kentucky law limiting the issuance of a license to carry concealed weapons to U.S.

citizens, reasoning in part that “[a] blanket prohibition discriminating against aliens

is not precisely draw[n] to achieve the goal of facilitating firearms purchases when

there exists a nondiscriminatory way to achieve the same goals”). Accordingly,

Plaintiff has “succeeded in proving a violation of equal protection—” because he

was “denied an opportunity to apply for a permit to acquire firearms based solely on

his status as a” COFA alien. Fotoudis 54 F. Supp. 3d at 1143.

      Even if this Court applied rational basis review to Hawaii’s ban on COFA

aliens, it would still be unconstitutional. The legislature’s desire to “protect”

favored groups’ “expectations” or “respond to the demands of a political

constituent” is not a cognizable state interest. Fowler Packing Co., Inc. v. Lanier,

844 F.3d 809, 815 (9th Cir. 2016) (reversing dismissal of an equal protection claim

given arbitrary “carve out[s]” to select groups); Metro. Life Ins. Co. v. Ward, 470

U.S. 869, 878 (1985) (law unconstitutional where its “aim” was “to favor domestic

industry within the State”). There is no rational basis to deny COFA aliens the


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right to own firearms while allowing green card holders and citizens to do so. They

are similarly situated “in all relevant respects” to other parties. Ashaheed v.

Currington, 7 F.4th 1236, 1251 (10th Cir. 2021) (citation omitted). This Court’s

decision in Silveira v. Lockyer, 312 F.3d 1052 (9th Cir. 2002), is instructive. In

Silveira, the Court concluded that granting retired peace officers greater access to

firearms over similarly situated civilians violated the Equal Protection Clause

under rational basis review. Similarly, there is no rational reason to grant green

card holders and citizens access to firearms and not COFA aliens. The only

conceivable reason is due to the political and/or economic unpopularity of COFA

aliens.20 The United States Supreme Court has long held that drawing

classifications based on political unpopularity violates the Equal Protection Clause.

“[I]f the constitutional conception of ‘equal protection of the laws’ means


20
  That COFA aliens face discrimination in Hawaii is well documented. See
https://www.civilbeat.org/2023/03/jonathan-okamura-micronesians-are-the-most-
denigrated-group-in-hawaii-we-need-to-be-more-concerned/ (news article);
https://hawaiischolars.weebly.com/uploads/1/3/5/6/135637363/hsesj_2022_final_f
eb_2_23__with_signatories_.pdf (Research paper on Micronesian discrimination);
https://hawaiischolars.weebly.com/uploads/1/3/5/6/135637363/hsesj_2022_final_f
eb_2_23__with_signatories_.pdf (another research paper);
https://www.usccr.gov/files/pubs/2019/08-13-Hawaii-Micronesian-Report.pdf
(“The reality is that [Micronesian migrants] are subject to outright discrimination
and hate speech, and just a lack of understanding.”);
https://www.civilbeat.org/2015/07/tongan-micronesian-hawaiian-students-most-
likely-to-be-suspended/ (school discrimination); https://www.pbshawaii.org/the-
discrimination-and-bias-towards-micronesians/ (similar)
https://journals.library.columbia.edu/index.php/sjshr/article/view/12621/6249
(former Micronesian student in Hawaii detailing the discrimination he faced)
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anything, it must at the very least mean that a bare congressional desire to harm a

politically unpopular group cannot constitute a legitimate governmental interest.”

United States Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973). The

legislature’s desire to “protect” favored groups’ “expectations” or “respond to the

demands of a political constituent” is not a cognizable state interest. See also

Fowler Packing Co., Inc. v. Lanier, 844 F.3d 809, 815 (9th Cir. 2016) (reversing

dismissal of an equal protection claim given arbitrary “carve out[s]” to select

groups). Even if rational basis review applied, Hawaii’s restriction on COFA aliens

is unconstitutional because it discriminates against COFA aliens without a

legitimate reason. Plaintiff is likely to succeed on the merits of his claim.

                       IV.    Plaintiff will suffer irreparable harm

      Plaintiff is suffering irreparable harm because he cannot exercise his

constitutional right to own a firearm unless a preliminary injunction is granted. “It is

well established that the deprivation of constitutional rights ‘unquestionably

constitutes irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.

2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A Charles Alan Wright

et al., Federal Practice and Procedure § 2948.1 (2d ed. 1995) (“When an alleged

deprivation of a constitutional right is involved, most courts hold that no further

showing of irreparable injury is necessary.”). The Ninth Circuit has imported the

First Amendment “irreparable-if-only-for-a-minute” rule to other rights and, in doing

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so, has held deprivation of those rights is irreparable harm per se. Monterey Mech.

Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997). “This analysis does not change

where the constitutional violation at issue is a Second Amendment violation.” Baird

v. Bonta, 81 F.4th 1036, 1046 (9th Cir. 2023). See also Ezell v. City of Chi., 651 F.3d

684. 700 (7th Cir. 2011) (a deprivation of the right to arms is “irreparable” harm).

         V.     Granting the TRO/PI is in the Public Interest and Serves Equity

        The last two preliminary injunction elements merge when the government is the

defendant. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014)

(citation omitted). When challenging government action that affects the exercise of

constitutional rights, “[t]he public interest . . . tip[s] sharply in favor of enjoining the”

law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009). As the Ninth

Circuit has made clear, “all citizens have a stake in upholding the Constitution” and

have “concerns [that] are implicated when a constitutional right has been violated.”

Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005). The State “cannot suffer harm

from an injunction that merely ends an unlawful practice or reads a statute as required

to avoid constitutional concerns.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.

2013); See Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is

clear that it would not be equitable . . . to allow the state . . . to violate the requirements

of federal law.” (citations omitted)). [W]e presume that a constitutional violation causes

a preliminary injunction movant irreparable harm and that preventing a constitutional

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violation is in the public interest. Baird v. Bonta, 81 F.4th 1036, 1046 (9th Cir. 2023).

       VI.    Waiver of Bond is Proper and Appropriate Under These
              Circumstances

      “Notwithstanding its seemingly mandatory language,” stating that the movant

must provide “security in an amount that the court considers proper to pay the costs

and damages sustained by any party found to have been wrongfully enjoined or

restrained,” “Rule 65(c) invests the district court with discretion as to the amount of

security required, if any.” Weaver v. City of Montebello, 370 F.Supp.3d 1130, 1139

(C.D. Cal. 2109) (quoting Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir.

2009)). The court may properly dispense with any such bond requirement when

“the balance of ... equities weighs overwhelmingly in favor of the party seeking the

injunction,” East Bay Sanctuary Covenant v. Trump, 349 F.Supp.3d 838, 869 (N.D.

Cal. 2018) (quoting Elliott v. Kiesewetter, 98 F.3d 47, 60 (3d Cir. 1996)), when

“there is no realistic likelihood of harm to the defendant from enjoining his or her

conduct,” Johnson at 1086 (internal quotations omitted), and where the plaintiff has

a “likelihood of success on the merits,” People of the State of Cal. ex rel. Van De

Kamp v. Tahoe Regency Planning Agency, 766 F.2d 1319, 1326 (9th Cir. 1985). All

these factors are true here, thus rendering a waiver both proper and appropriate.

       VII. This Court Should Consolidate Pursuant to Rule 65(a)(2)




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      Rule 65(a)(2) of the Federal Rules of Civil Procedure state “[b]efore or after

beginning the hearing on a motion for a preliminary injunction, the court may

advance the trial on the merits and consolidate it with the hearing. This Court

should do so here because “[g]iven the expedited and predominately legal nature of

the questions presented by this litigation,” the “evidence presented by the parties

through the briefing and hearing on the motions for preliminary injunctions will be

relevant to adjudicating the Plaintiffs' claims on the merits.” Donald J. Trump for

President, Inc. v. Bullock, No. CV 20-66-H-DLC, 2020 U.S. Dist. LEXIS 169794,

at *2 (D. Mont. Sep. 16, 2020). Here, there cannot be any serious dispute as to what

the state law says. Therefore, the matter before this court is predominantly legal in

nature. Thus, this case is a prime candidate for consolidation.

                                     VIII. Conclusion

        The preliminary injunction should issue.

Dated: November 27, 2024.


                           Respectfully submitted,
                                Counsel for Plaintiff

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                                 Kevin O’Grady

                                 /s/ Alan Beck
                                 Alan Alexander Beck



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